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                         EXHIBIT G
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                                                           Micron and Customers
                                               U.S. Patent No. 8,049,340 (the Hall ’340 Patent)

                                                           U.S. Patent No. 8,049,340

                                                                Claims 1 and 6


       Bell Semiconductor (“Bell Semic”) provides evidence of infringement of exemplary claims 1 and 6 of U.S. Patent No. 8,049,340 (“the
’340 patent”) by the MT61K256M32JE-14 (FBGA Code: D9WCW) SGRAM unit produced by Micron (“Micron”). In support thereof, Bell
Semic provides the following claim charts.

        “Accused Products” as used herein refers to at least devices produced or sold by Micron that are or include semiconductor packaged
devices designed to minimize parasitic capacitance between metal layers in a ball grid array integrated circuit package, with the understanding
that infringement has also taken place through the manufacture, importation, offer for sale, and/or sale of products including such Accused
Products. These claim charts demonstrate infringement by comparing each element of the asserted claims to corresponding components,
aspects, and/or features of the Accused Products. These claim charts are not intended to constitute an expert report on infringement. These
claim charts include information provided by way of example, and not by way of limitation.

        The analysis set forth below is based only upon information from available resources regarding the Accused Products, as Micron has
not yet provided any non-public information. An analysis of Micron’s (or other third parties’) technical documentation may assist in fully
identifying all infringing features and functionality. Accordingly, Bell Semic reserves the right to supplement this infringement analysis once
such information is made available to Bell Semic. Furthermore, Bell Semic reserves the right to revise this infringement analysis, as appropriate,
upon issuance of a court order construing any terms recited in the asserted claims.

        Unless otherwise noted, Bell Semic contends that Micron and customers of Micron directly infringe under 35 U.S.C. § 271(a) the ’340
patent by selling, offering to sell, making, using, and/or importing semiconductor products designed and/or produced at least in part by the
Accused Products. Unless otherwise noted, Bell Semic further contends that the evidence below supports a finding of indirect infringement
under 35 U.S.C. §§ 271(b) and/or (c), in conjunction with other evidence of liability under one or more of those subsections. Micron and/or its
customers make, use, sell, import, or offer for sale in the United States, or have done the same in the past, without authority, and/or induce or
have induced others to make, use, sell, import, or offer for sale in the United States, without authority products, equipment, or services that
infringe claims 1 and 6 of the ’340 patent, including without limitation, the Accused Products or semiconductor products designed and/or
produced at least in part using the Accused Products.

         Unless otherwise noted, Bell Semic believes and contends that each element of each claim asserted herein is literally met through
Micron’s provision of the Accused Products. However, to the extent that Micron attempts to allege that any asserted claim element is not
literally met, Bell Semic believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its
investigation and analysis of the Accused Products, Bell Semic did not identify any substantial differences between the elements of the patent
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claims and the corresponding features of the Accused Products, as set forth herein. In each instance, the identified feature of the Accused
Products performs at least substantially the same function in substantially the same way to achieve substantially the same result as the
corresponding claim element.

        To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Products, Bell Semic asserts
that, on information and belief, any similarly functioning instrumentalities also infringes the charted claim. Bell Semic reserves the right to
amend this infringement analysis based on other products made, used, sold, imported, or offered for sale by Micron. Bell Semic also reserves
the right to amend this infringement analysis by citing other claims of the ’340 patent, not listed in the claim chart, that are infringed by the
Accused Products. Bell Semic further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying
content in the “Accused Products” column of each chart.




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                   Claims                                                            Accused Products1
    1. An integrated circuit package         To the extent that the preamble is found to be limiting, the Micron MT61K256M32JE-14 SGRAM
    substrate comprising:                    has an integrated circuit package substrate.



                                              Component –                                                                          Component –
                                              Top View                                                                             Bottom View/BGA




                                                  X-Ray –
                                                  Top View



                                                                                                       X-Ray Side View




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 The claims asserted, and the theories set forth herein are based on Bell Semic’s present understanding from publicly available information. As of the
service of these contentions, Defendant has not produced any technical documents. Bell Semic reserves the right to supplement or amend these contentions
as permitted by P.R. 3-6 and any Orders of the Court as discovery progresses. Further, these contentions contain images and examples in order to illustrate
Bell Semic’s infringement theories. As such, the images and examples are not intended, and should not be read, as narrowing or limiting the scope of these
contentions.
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a first and a second electrically       The integrated circuit package substrate of the Micron MT61K256M32JE-14 SGRAM has 4 metal
conductive layer separated from each    layers and 3 via layers, including a first electrically conductive layer (Metal Layer 4) and a second
other by an electrically insulating     electrically conductive layer (Metal Layer 3) separated from each other by an electrically insulating
layer with no intermediate conductive   layer (Via Layer 3) with no intermediate conductive layer therebetween.
layer therebetween;




                                                    Metal Layer 3                      Via Layer 3                    Metal Layer 4
                                                                                                                 After Removing BGA balls
                                                                                                                   and solder mask layer




a plurality of rows of contact pads     The integrated circuit package substrate of the Micron MT61K256M32JE-14 SGRAM has a
formed in the first electrically        plurality of rows of contact pads (see red boxes below) formed in the first electrically conductive
conductive layer for making a direct    layer (metal layer 4) for making a direct connection between the integrated circuit package

                                                                     4
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connection between the integrated      substrate and a printed circuit board. Shown below are the contact pads of the Micron
circuit package substrate and a        MT61K256M32JE-14 SGRAMafter removing BGA balls and solder mask layer.
printed circuit board; and




                                                                                                              Metal Layer 4
                                              Contact Pads




a plurality of cutouts formed in the   A plurality of cutouts (see blue boxes below) are formed in the second electrically conductive layer
second electrically conductive layer   (Metal Layer 3) for reducing parasitic capacitance between the second electrically conductive layer
for reducing parasitic capacitance     and the first electrically conductive layer (Metal Layer 4).
between the second electrically
conductive layer and the first
electrically conductive layer,


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                                                             Metal Layer 3




wherein each cutout encloses an           Each cutout encloses an electrically insulating area within the second electrically conductive layer
electrically insulating area within the   (see yellow box in images below), and each electrically insulating area completely overlaps a
second electrically conductive layer,     corresponding one of the contact pads formed in the first electrically conductive layer (Metal Layer
and wherein each electrically             4) such that there is substantially no overlap of the rows of contact pads with metal in Metal Layer
insulating area completely overlaps a     3.

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corresponding one of the contact pads
formed in the first electrically
conductive layer such that there is
substantially no overlap of the rows
of contact pads with metal in the
second electrically conductive layer.




                                             Metal Layer 4 superimposed atop Metal                Close-up of superimposed image
                                                             Layer 3


6. The integrated circuit package        The second electrically conductive layer (Metal Layer 3) of the substrate of the Micron
substrate of claim 1, wherein the        MT61K256M32JE-14 SGRAM comprises a routing layer electrically connected with the first
second electrically conductive layer     electrically conductive layer (Metal Layer 4), the cutouts (see blue box below) being arranged in
comprises a routing layer electrically   rows corresponding to and aligned with the rows of contact pads.
connected with the first electrically
conductive layer, the cutouts being
arranged in rows corresponding to
and aligned with the rows of contact
pads.

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                                                                                                   Metal Layer 3




Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any
manner. For example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant
reference(s), as appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct the same.




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